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Attorneys for Federal Defendants1

                         THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                              SAN FRANCISCO DIVISION

__________________________________________
                                          )
INSTITUTE FOR FISHERIES                   )        Case No. 3:16-cv-01574-VC
RESOURCES, et al.,                        )
                                          )
            Plaintiffs,                   )        SETTLEMENT AGREEMENT
                                          )        REGARDING ATTORNEYS’
                    v.                    )        FEES AND COSTS AND
                                          )        [PROPOSED] ORDER
                                          )
XAVIER BECERRA, et al.,                   )
                                          )
            Defendants,                   )
                                          )
            and                           )
                                          )
AQUABOUNTY TECHNOLOGIES, INC.,            )
                                          )
            Intervenor-Defendant.         )
__________________________________________)




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    Additional counsel listed on signature page.
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       On March 30, 2016, Plaintiffs filed the above-captioned action (Lawsuit) challenging the

U.S. Food and Drug Administration’s approval of AquaBounty Technologies, Inc.’s new animal

drug application concerning a line of genetically engineered Atlantic salmon. ECF No. 1. On

July 15, 2016, following Federal Defendants’ motion to dismiss Claims 9 and 11 (ECF No. 50),

Plaintiffs filed an amended complaint, in which they withdrew their original Claim 9 and

substituted a new Claim 9. ECF No. 53. On August 30, 2016, the Court granted Federal

Defendants’ motion to dismiss Claim 11. ECF No. 66. On September 28, 2016, the Court granted

Federal Defendants’ motion for judgment on the pleadings on Claim 9 in the amended

complaint. ECF No. 70. On December 19, 2019, the Court granted in part Federal Defendants’

motion for judgment on the pleadings on Claims 1, 8, 12 and 13, entering judgment for Federal

Defendants on Claims 1, 8, and 13 and deferring decision on Claim 12. ECF No. 229. On

November 5, 2020, the Court granted Plaintiffs’ motion for summary judgment on Claims 2, 6,

and 10 and granted Defendants’ cross-motion for summary judgment on Claims 3, 4, 5, 7, and

12. ECF No. 285. On March 16, 2022, Plaintiffs filed a motion for attorneys’ fees and costs. ECF

No. 320. On April 27, 2022, Federal Defendants filed an opposition to Plaintiffs’ motion for

attorneys’ fees and costs. ECF No.329. On May 10, 2022, the parties participated in a settlement

conference, during which they reached an agreement on fees and costs. ECF No. 331.

       Plaintiffs and Federal Defendants (the Parties) have resolved Plaintiffs’ claim for

attorneys’ fees and costs and hereby agree and stipulate as follows (the Agreement):

       1.       Federal Defendants shall pay and Plaintiffs shall accept $700,000.00 in full

satisfaction of any and all of Plaintiffs’ claims, demands, rights, and causes of action, pursuant to

Section 11(g) of the Endangered Species Act, 16 U.S.C. § 1540(g), the Equal Access to Justice




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Act, 28 U.S.C. § 2412(d), or any other statute and/or common law theory, for attorneys’ fees and

costs incurred in connection with the Lawsuit through and including the date of this Agreement.

       2.       Federal Defendants shall make the payment set forth in Paragraph 1 of this

Agreement by electronic funds transfer to Plaintiffs’ counsel, on behalf of Plaintiffs. No later

than ten (10) days following the filing of this Agreement with the Court, Plaintiffs, through their

counsel, shall provide counsel for Federal Defendants the following information necessary for

Federal Defendants to process the payment set forth in Paragraph 1: the Plaintiffs’ names, the

payees’ names, the payees’ address, the payees’ bank name and bank address, the payees’ bank

account name and number, the account type, the bank routing transit number, the ABA number,

and the payees’ tax identification number. Upon the request of counsel for Federal Defendants,

counsel for Plaintiffs shall provide additional information (including the tax identification

numbers of Plaintiffs), if needed, to process the payment set forth in Paragraph 1.

       3.       Federal Defendants shall submit all paperwork necessary to complete the

$700,000.00 payment set forth in Paragraph 1 within fourteen (14) business days of receipt of

either the approval of this Agreement by the Court or receipt of the information described in

Paragraph 2, whichever is later. Plaintiffs, through their counsel, shall confirm receipt of the

payment within seven (7) days of receipt of such payment in writing to counsel for Federal

Defendants.

       4.       Plaintiffs’ acceptance of the $700,000.00 payment set forth in Paragraph 1 shall

operate as a full release of Plaintiffs’ claims for attorneys’ fees and costs arising out of the

Lawsuit.

       5.       The Parties agree that this Agreement was negotiated and entered into in good

faith and that it constitutes a settlement of claims that were vigorously contested, denied, and




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disputed by the Parties. This Agreement shall not be offered as evidence in any other judicial

proceeding or construed as an admission or concession of any wrongdoing, liability, or any issue

of fact or law concerning the claims settled under this Agreement. Except as expressly provided

in this Agreement, none of the Parties waives or relinquishes any legal rights, claims, or defenses

it may have.

       6.       By entering into this Agreement, Federal Defendants do not waive any right to

contest fees and costs claimed by Plaintiffs, including hourly rates, in any future litigation or

continuation of the present action, and Plaintiffs do not waive any right to claim such fees and

costs. The undersigned Parties agree and acknowledge that this Agreement as to attorneys’ fees

and costs has no precedential value and shall not be used as evidence in any other attorneys’ fees

and costs litigation, except as necessary to enforce the terms of this Agreement.

       7.       No provision of this Agreement shall be interpreted as, or constitute, a

commitment or requirement that Federal Defendants are obligated to spend funds in violation of

the Anti-Deficiency Act, 31 U.S.C. § 1341, or any other law or regulation.

       8.       The terms of this Agreement constitute the entire agreement of the Parties, and all

previous understandings, agreements, and communications concerning settlement of Plaintiffs’

claims for attorneys’ fees and costs incurred in the Lawsuit that occurred prior to the date hereof,

whether express or implied, oral or written, are fully and completely extinguished and

superseded by this Agreement. This Agreement may be modified only upon mutual written

consent of the Parties.

       9.       The undersigned representatives of Plaintiffs and Federal Defendants certify that

they are fully authorized by the Parties they represent to enter into the terms and conditions of

this Agreement and to legally bind the Parties to it.




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       10.      The provisions of this Agreement shall apply to and be binding upon each of the

Parties, including, but not limited to, their officers, directors, servants, employees, successors,

and assigns.

       11.      The terms of this Agreement shall become effective upon entry of an Order by the

Court ratifying the agreement.



Dated: June 1, 2022                            Respectfully submitted,


Of Counsel                                     TODD KIM
                                               Assistant Attorney General

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                                             Attorneys for Plaintiffs




                                        ATTESTATION

       Pursuant to Local Rule 5-1(i)(3), I attest that I am the ECF user whose user ID and

password are being used in the electronic filing of this document.



                                             /s/ Frederick H. Turner
                                             Attorney for Federal Defendants




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